    Case: 1:24-cv-00569 Document #: 35 Filed: 12/04/24 Page 1 of 2 PageID #:240



                IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

TRACY COHEN                                   )
                                              )       No. 1:24-cv-569
               Plaintiff,                     )
                                              )
       vs.                                    )
                                              )
KERING, GUCCI,                                )       Hon. Judge Martha M. Pacold
GUCCI AMERICA, INC., and                      )
GUCCI NORTH AMERICAN                          )       Hon. Magistrate Judge Jeffrey T. Gilbert
HOLDINGS,                                     )
                                              )       JURY TRIAL DEMANDED
               Defendants.                    )

                                   JOINT STATUS REPORT

       Pursuant to this Court’s Order of October 31, 2024 [ECF No. 32], the Parties submit this

updated Joint Status Report.

       Plaintiff’s counsel filed a motion to withdraw as counsel on November 27, 2024. That motion

is pending before the Court. Prior to that motion being filed, the Parties had completed their

production of documents and taken depositions of Michael Aguilera and Bryant Turner.

       All other depositions (including Plaintiff’s deposition) have been suspended due to Plaintiff’s

counsel’s motion to withdrawal. Discovery had previously been scheduled to be completed by

February 24, 2025 [ECF No. 32]. That deadline may need to be extended due to Plaintiff’s need to

replace her prior counsel and the need to reschedule approximately seven depositions.



Dated: December 4, 2024




                                                  1
    Case: 1:24-cv-00569 Document #: 35 Filed: 12/04/24 Page 2 of 2 PageID #:241



Respectfully submitted,


/s/ Tamara Holder                                  /s/ Rachel Cowen
Tamara Holder                                      Rachel Cowen
Attorney for Plaintiff                             Attorney for Defendants

                                                   /s/ Jean Edmonds
                                                   Jean Edmonds
                                                   Attorneys for Defendants


                                                   Report Filed By:
                                                   By: /s/ Jean M. Edmonds
                                                   Jean M. Edmonds
                                                   McDermott Will & Emery LLP
                                                   IL SBN #6338928
                                                   One Vanderbilt Ave.
                                                   New York, NY 10017
                                                   Phone: (212) 547-5571
                                                   jedmonds@mwe.com




                                        2
